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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                      Chapter 11 Case No. 18-10248-MFW

    THE BON-TON STORES, INC., et al.,                           (Jointly Administered)

                            Debtors.                            Re: ECF No. 372

                       OBJECTION OF BRIDGE SOLUTIONS GROUP, INC.
                          TO DEBTORS’ PROPOSED CURE AMOUNT

             Bridge Solutions Group, Inc. (“Bridge Solutions”) objects to the proposed cure amount

set forth in the Debtors’ notice of potential assumption and assignment, filed March 19, 2018

(“Cure Notice”):

             1.     Bridge Solutions and The Bon Ton Department Stores, Inc. are party to a Master

Services Agreement, dated July 18, 2014 (Exhibit 1 hereto). The parties entered into a Statement

of Work thereunder, effective November 1, 2016 (Exhibit 2 hereto). Bridge Solutions1 filed a

proof of claim in the amount of $115,887 (assigned Claim No. 3, Exhibit 3 hereto) for amounts

owed under the foregoing, evidenced by prepetition invoices included therein.

             2.     By the Cure Notice (specifically, ECF No. 372-2, p.5 of 36), the Debtors asserts

the cure amount under the foregoing agreement (described as a Service Agreement) is $0.

             3.     Bridge Solutions asserts that the actual amount owed, and which must be paid under

Bankruptcy Code section 365(b)(1)(A) to assume and assign the agreement, is not less than that

set forth in its proof of claim.




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  The proof of claim identifies the creditor as Bridge Solutions Group, Corp., notwithstanding that the signatory has
a “bridgesgi.com” (“i” as in Inc.) e-mail address. The creditor’s correct name is Bridge Solutions Group, Inc., as
indicated in the annexed contracts (and the Cure Notice). Bridge Solutions is happy to file an amended claim to the
extent this cure objection cannot be consensually resolved.
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          WHEREFORE, Bridge Solutions requests an order determining the relevant cure amount

is not less than $115,887, and granting it such other and further relief as this Court deems just and

proper.

Dated: April 9, 2018                                  STORCH AMINI PC
       New York, New York
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